              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                   No. 12-cv-1349
                        Plaintiff;
         v.                                        JOINT MOTION TO MODIFY EXPERT
                                                   DISCLOSURE DEADLINES
 Terry Johnson, in his official capacity as
 Alamance County Sheriff,
                        Defendant.



       The United States and Alamance County Sheriff Terry Johnson (collectively, “the
Parties”) respectfully ask this Court to modify the expert discovery deadlines set forth in
this Court’s July 22, 2013, Order, ECF No. 32, by extending the deadlines for expert
disclosures by one week. The Parties’ propose the following new deadlines:
          • Simultaneous submission of expert disclosures and expert reports:
              November 15, 2013;
          • Submission of rebuttal expert reports: December 27, 2013;
          • Depositions of expert witnesses: December 27, 2013 – January 24, 2014;
          • Completion of expert discovery period: January 24, 2014.


       Federal Rule of Civil Procedure 16(b)(4) provides that a district court may modify
a discovery schedule “for good cause and with the judge's consent.” The Rule 16 inquiry
centers on the diligence of the party or parties requesting a modification. Advisory
Comm. Note to Rule 16(b), 1983 (Court may “modify the schedule on a showing of good
cause if the deadline cannot be met despite the diligence of the party seeking the
extension.”); see also Montgomery v. Anne Arundel County, 182 F. App’x. 156, 162 (4th
Cir. 2006) (Under Rule 16(b)’s good cause standard, “the primary consideration is the
diligence of the moving party”); Odyssey Travel Ctr., Inc. v. RO Cruises, Inc., 262 F.




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Supp. 2d 618, 632 (D. Md. 2003) (“The primary consideration of the Rule 16(b) ‘good
cause’ standard is the diligence of the movant.”).
       Here, the Parties have diligently pursued discovery. The Parties reached a
Rule 26(f) discovery agreement, ECF No. 8; agreed to a separate Stipulation and Order
Regarding Discovery; ECF Nos. 14 and 16; exchanged initial disclosures and
supplemental disclosures; have taken 51 depositions of fact witnesses, and worked to
prepare expert disclosures. Despite these efforts, however, it is not possible for the
United States is unable to complete its expert disclosures by the current deadline of
November 8, 2013.
       Accordingly, the Parties ask the Court to extend the deadline for initial and
rebuttal expert disclosures by one week, as set forth above. The extension requested by
the Parties would not impact other case management deadlines.




       Respectfully submitted,


       JONATHAN M. SMITH
       Chief
       Special Litigation Section

       TIMOTHY D. MYGATT
       Special Counsel
       Special Litigation Section
       Civil Rights Division

       s/ Michael J. Songer
       MICHAEL J. SONGER
       DC Bar Number: 975029
       AARON FLEISHER
       Attorneys
       United States Department of Justice
       Civil Rights Division




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950 Pennsylvania Avenue, N.W.
Washington, DC 20530
Tel: (202) 514-6255
Fax: (202) 514-4883
michael.songer@usodj.gov

Attorneys for the United States


s/ S.C. Kitchen
S.C. Kitchen
N.C. Bar No. 9309
920-B Paverstone Dr
Raleigh, NC 27615
Tel. (888) 308-3708
ckitchen@turrentinelaw.com

Attorney for Defendant Sheriff Johnson




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                            CERTIFICATE OF SERVICE


       I certify that the foregoing Joint Motion to Modify Expert Disclosure Deadlines
was served through the electronic filing service on November 5, 2013 to the following
individual:

S.C. Kitchen
Turrentine Law Firm
920-B Paverstone Dr
Raleigh, NC 27615
ckitchen@turrentinelaw.com


Attorney for Defendant Sheriff Johnson



                                                s/ Michael J. Songer
                                                MICHAEL J. SONGER
                                                Attorney for the United States




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